                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI

Michael H. Lind and Mary C. Lind,              )
                                               )
                               Plaintiffs,     )
                                               )
v.                                             )         Case No. 18-3125
                                               )
Linda T. McKinney,                             )
Thomas W. Cline,                               )
John James Garrabrant,                         )
Darrin Reed,                                   )
Becki Strong,                                  )
Jackie Jones                                   )
and others unknown to                          )
plaintiffs at this time,                       )
                                               )
                                               )
                               Defendants.     )

      ANSWER TO PETITION AND COUNTERCLAIM FOR ABUSE OF PROCESS

       COMES NOW defendant, Thomas W. Cline, by and through counsel, Keck & Austin,

L.L.C., and for his Answer To plaintiffs’ Petition and Counterclaim for Abuse of Process states:

                                       Statement of the Case

       Defendant denies the allegations contained in the Statement of the Case.

                                             Jurisdiction

       1.      Defendant is without sufficient information to form a belief as to the truth or falsities

of the allegations contained in paragraphs 1-7 and therefore denies same.

                                               Parties

       8.      Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 8 and therefore denies same.

       9.      Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 9 and therefore denies same.


                                                   1

         Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 1 of 13
       10.     Defendant denies the allegations contained in paragraph 10.

       11.     Defendant denies the allegations contained in paragraph 11.

       12.     Defendant denies the allegations contained in paragraph 12.

       13.     Defendant denies the allegations contained in paragraph 13.

       14.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 14 and therefore denies same.

       15.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 15 and therefore denies same.

       16.     Defendant denies the allegations contained in paragraph 16.

                                                      Facts

       17.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 17 and therefore denies same.

       18.     Defendant denies the allegations contained in paragraph 18.

       19.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 19 and therefore denies same.

       20.     Defendant admits this is a partial description of the referenced report, but is without

sufficient information to form a belief as to the truth or falsity and denies each and every allegation

not specifically admitted.

       21.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 21 and therefore denies same.

       22.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 22 and therefore denies same.

       23.     Defendant is without sufficient information to form a belief as to the truth or falsity



                                                  2

         Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 2 of 13
of the allegations contained in paragraph 23 and therefore denies same.

       24.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 24 and therefore denies same.

       25.     Defendant denies the allegations contained in paragraph 25.

       Defendant is without sufficient information to form a belief as to the truth or falsity of the

allegations contained in footnote 1 regarding paragraph 25 on page 5 of plaintiffs’ petition and

therefore denies same.

       26.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 26 and therefore denies same.

       27.     Defendants are without sufficient information to form a belief as to the truth or

falsity of the allegations contained in paragraph 27 and therefore deny same.

       28.     Defendant are without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 28 and therefore denies same.

       29.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 29 and therefore denies same.

       30.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 30 and therefore denies same.

       31.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 31 and therefore denies same.

       32.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 32 and therefore denies same.

       33.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 33 and therefore denies same.



                                                  3

         Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 3 of 13
       34.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 34 and therefore denies same.

       35.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 35 and therefore denies same.

       36.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 36 and therefore denies same.

       37.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 37 and therefore denies same.

       38.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 38 and therefore denies same.

       39.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 39 and therefore denies same.

       Defendant is without sufficient information to form a belief as to the truth or falsity of the

allegations contained in footnote 2 immediately following paragraph 39 on page 7 of plaintiffs’

petition and therefore denies same.

       40.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 40 and therefore denies same.

       41.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 41 and therefore denies same.

       42.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 42 and therefore denies same.

       43.     Defendant denies the allegations contained in paragraph 43.

       Defendant is without sufficient information to form a belief as to the truth or falsity of the



                                                 4

         Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 4 of 13
allegations contained in footnote 3 immediately following paragraph 43 on page 8 of plaintiffs’

petition and therefore denies same.

                                         LEGAL CLAIMS

                                      First Cause of Action
                       False Arrest and Conspiracy Against All Defendants
                                         42 U.S.C. §1983

       44.     Defendant adopts herein by reference all of hisr answers contained in paragraphs 1-

43 of plaintiffs’ petition and deny the allegations contained in paragraph 44.

       45.     Defendant denies the allegations contained in paragraph 45.

                                      Second Cause of Action

                                      State Tort of False Arrest
                                       Against All Defendants
                                         28 U.S.C. §1367 (a)


       46.     Defendant adopts herein by reference all of his answers contained in paragraphs

1-45 of plaintiffs’ petition and denies the allegations contained in paragraph 46.

       47.     Defendant denies the allegations contained in paragraph 47.

       48.     Defendant denies the allegations contained in paragraph 48.

                                       Third Cause of Action

                                              RICO
                                      Against All Defendants
                                        18 U.S. C. § 1964


       49-53. Defendant adopts herein by reference all of his answers contained in paragraphs

 1-48 of plaintiffs’ petition and moves to strike paragraphs 49-53 as argumentative and calling

 for legal conclusions.

                                       Fourth Cause of Action



                                                  5

         Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 5 of 13
                                        Civil Conspiracy
                                      Against All Defendants
                                       28 U.S.C. §1367 (a)


       54.     Defendant adopts herein by reference all of his answers contained in paragraphs

1-53 of plaintiffs’ petition and denies the allegations contained in paragraph 54 and moves to

strike as paragraph 54 calls for a legal conclusion.

                                           Fifth Cause of Action

                                          Malicious Prosecution
                                          Against All Defendants
                                           28 U.S.C. § 1367 (a)

       55.     Defendant adopts herein by reference all of his answers contained in paragraphs 1-

54 of plaintiffs’ petition and denies the allegations contained in paragraph 55 and moves to strike

as paragraph 55 calls for a legal conclusion.

       56.     Defendant denies the allegations contained in paragraph 56 and moves to strike as

paragraph 56 calls for a legal conclusion.

                                           Sixth Cause of Action

                                     Access to Federal Grand Jury
                         Rule 6(a) of the Federal Rules of Criminal Procedure

       57.     Defendant adopts herein by reference all of his answers contained in paragraphs 1-

56 of plaintiffs’ petition and denies the allegations contained in paragraph 57.

       58.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 58 and therefore denies same and further state it is unclear

what, if any, allegations are alleging against this defendant therein and calls for a legal conclusion.

       59.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 59 and therefore denies same and further state it is unclear



                                                  6

        Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 6 of 13
what, if any, allegations are alleging against this defendant therein and calls for a legal conclusion.

       60.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 59 and therefore denies same and further state it is unclear

what, if any, allegations are alleging against this defendant therein. Further defendant moves to

strike paragraph 60 as argumentative and calls for a legal conclusion.

       61.     Defendant is without sufficient information to form a belief as to the truth or falsity

of the allegations contained in paragraph 61 and therefore denies same and further state it is unclear

what, if any, allegations are alleging against this defendant therein and calls for a legal conclusion.

                                             Relief Requested

       1.      Defendant requests a trial by jury.

       2.      Defendant admits compensatory damages be determined by a jury, but denies

plaintiffs suffered compensatory damages.

       3.      Defendant denies the allegations contained in paragraph 3.

       4.      Defendant admits nominal damages be determined by a jury, but denies plaintiffs

suffered any amount of damage.

       5.      Defendant denies the allegations contained in paragraph 5.

       6.      Defendant denies the allegations contained in paragraph 6.

       7.      Defendant denies the request contained in paragraph 7.

       8.      Defendant denies the request contained in paragraph 8.

       9.      Defendant denies the request in paragraph 9.

                                  AFFIRMATIVE DEFENSES

       Defendant asserts the following affirmative defenses:

       1.      Defendant affirmatively states that the petition herein fails to state a claim upon



                                                  7

        Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 7 of 13
which relief can be granted.

       2.         Defendant affirmatively states that plaintiffs have failed to mitigate their damages.

       3.         Defendant asserts that the public duty rule, granting immunity to public and

governmental officials is applicable to each and every action set forth in the complaint of

plaintiff and that plaintiff is barred from asserting, pursuing and obtaining recovery on said

actions, defendants are employees, elected officials or judicial officials of Ozark County,

Missouri and Ozark County, Missouri is a public entity.

       4.         Defendant affirmatively states that it is a governmental entity, therefore, the doctrine

of sovereign or governmental immunity is applicable to defendant, the actions asserted by plaintiffs

failing to fall within the provisions of Section 71.185, RSMo., the provisions thereof made a part

hereof by reference, therefore, plaintiffs are barred from further asserting the actions stated and from

obtaining any judgment recovery thereon against defendant.

       5.         Defendant is an employee of Ozark County, MO, and Ozark County is a

governmental entity and the actions asserted by plaintiffs failing to fall within provisions of Section

537.600 RSMo., the provisions thereof made a part hereof by reference, therefore, plaintiffs are

barred from further asserting the actions stated and from obtaining any judgment recovery thereon

against defendant.

       6.         Defendant affirmatively states that this complaint and all claims made against him is

without merit, frivolous and constitute malicious prosecution and defendant requests his attorneys’

fees and costs.

       7.         Defendant affirmatively states that punitive or exemplary damages are not

recoverable under any facts plead herein, including against any public entity.

       8.         Defendant asserts he should prevail on any of the claims brought by Plaintiff,



                                                     8

         Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 8 of 13
Defendant is entitled to reasonable costs and attorney fees incurred herein pursuant to 42 U.S.C.

§1988 (b).

       9.      Defendant is an official or judicial official and immune from plaintiffs’ claims.

       10.     To the extent that Plaintiffs claim punitive damages, Defendant avers that, under

Missouri law, punitive damages can only be assessed as punishment and such damages are,

therefore, criminal or quasi-criminal in nature; and that with respect to the claims for punitive

damages set forth in Plaintiffs’ Complaint, Defendant avers:

       a.      That if the burden of proof required for believing propositions entitled plaintiff to an

       award of punitive damages is set forth in Missouri Federal instructions (or the equivalent

       thereof), this submission and award for punitive damages will be unconstitutional, null and

       void, in that such burden of proof being less than proof beyond a reasonable doubt, violates

       the provisions of Amendments V and VI, Section 1 of Amendment XIV, Constitution of the

       United states.

       b.     That if an award of punitive damages is made on the basis of allegations contained in

       plaintiff’s Complaint, that the submission and award of punitive damages will be

       unconstitutional, null and void, that said allegations do not satisfy the requirement of

       Amendment VI, Constitution of the United States, that defendant be informed of the “nature

       and cause of an accusation.”

       c.      That, if an award of punitive damages is made on the basis (or in part on the basis)

       of the language found in the Federal instructions, or the equivalent, then the submission and

       award of punitive damages will be of the provision of Amendments V and VI, Section One

       of Amendment XIV, the Constitution of the United States.




                                                  9

         Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 9 of 13
       d.     That, if evidence is admitted in this civil action as an involuntary admission of or by

       defendant(s), the submission and award of punitive damages will be unconstitutional, null

       and void, in violation of the provisions of Amendment unconstitutional, null and void, in

       violation of the provisions of Amendment V, Constitution of the United States. Providing

       that no person all be compelled to be a witness against himself, and in violation of the

       provisions of Section One and Amendment XIV, Constitution of the United States.

       e.      That, if an award of punitive damages is made on the basis of instructions, the

       submission and award of punitive damages will be unconstitutional, null and void, in

       violation of Amendments V and XIV, Constitution of the United States granting each person

       “ equal protection of the laws” and that no standards are stated for fixing such damages, nor

       are such damages required to bear any relation to actual damages, degree of wrong doing or

       any other standard by reason of which the jury is invited and authorized to punish on the

       basis of wealth, affluence or net worth.

       f.     That, an award of punitive damages herein would be unconstitutional, null and void,

       in violation of Sections 10, 19(a), and 22(a), Article I, Constitution of 1945 of the State of

       Missouri as amended.

       g.     That, because of lack of safeguards, lack of standards for fixing such damages, lack

       of relationship between the wrongdoing and damages sustained, this defendant would be

       denied due process of law if M.A.I. civil instructions, or the equivalent, are utilized in the

       trial of this matter and as a result violates Amendment XIV of the United States

       Constitution, Section 10, Article 1 of the Constitution of the State of Missouri.

       11.    Defendant reserve the right to assert any affirmative defenses allowed pursuant to

Rule 55.08.



                                                  10

        Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 10 of 13
       WHEREFORE, Defendant having answered to the actions stated in the Petition pray to be

discharged therefrom or, in the alternative, if Plaintiffs are entitled to recover damages against

Defendant, that such damages be apportioned on the fault found by the triers of fact and apportioned

to Plaintiffs and Defendant and that such damages be reduced on the basis of fault of Plaintiffs in

being dismissed from his position, percentage thereof, found and allocated to Plaintiffs.


                                        COUNTERCLAIM
                                       ABUSE OF PROCESS

       COMES NOW, the Counterclaimant, Thomas W. Cline, by and through his attorneys of

record, Keck & Austin, LLC., and for his Counterclaim states:

       1.      Counterclaim Defendants filed a false, slanderous and misleading action against

       Counterclaimant in their April 12, 2018 Complaint filed in this Court.

       2.      Counterclaim Defendants’ use of process in this matter places Counterclaim

       Plaintiffs’ in a false light and is false, slanderous and misleading and is used to

       accomplish ends which are outside the regular purview of the process as plead in

       Counterclaim Defendants’ Complaint.

       3.      Counterclaim Defendants’ use of process against Counterclaimant as plead in their

       April 12, 2018 is for an improper and perverted use of process, which is neither warranted

       nor authorized by the process, and in the following respects, at the time process was filed,

       Counterclaim Defendants had an improper purpose in exercising such perverted or improper

       use of process:

               a.        to harass Counterclaimant for exercising his obligations as a public official;

               and/or




                                                  11

        Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 11 of 13
                  b.     to discourage public officials from exercising their proper duties and do

                  Counterclaim Defendants bidding; and/or


                  c.     to threaten Counterclaimant by going generating media and coverage of false

                  allegations and making false allegations and then claiming those allegations are

                  supported by the claims made herein; and/or

                  d.     in using the process to embarrass, humiliate and cause Counterclaimant

                  emotional distress, and harm to his reputation in this improper and perverted use of

                  process.

        4.        Counterclaim Defendants’ use of process as stated above is willful, and maliciously

        done in bad faith for a vexatious purpose, and not legal, proper, unwarranted, or authorized

        by law.

        5.        Counterclaimant has been damaged by Counterclaim Defendants’ actions in the

        need to retain counsel, costs of the action, and other fair and reasonable expenditures and

        injuries to his names and professional reputation.

        6.        Counterclaim Defendants’ actions as described above were willful, malicious,

        intentional     and   done    in   conscious    disregard    for   Counterclaimant’s      rights;

        Counterclaimant Plaintiffs are, therefore, entitled to punitive damages in such sum as will

        serve to punish Counterclaim Defendants for their conduct described herein and deter

        Counterclaim Defendants and others from like conduct in the future.

        Wherefore, Counterclaimant hereby prays that this Court enter judgment in his favor against

Michael Lind and Mary Lind for actual and punitive damages in an amount which is fair and

reasonable, to be proved at trial, for costs of this action and for such other and further relief as this

Court deems just and proper.


                                                   12

        Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 12 of 13
                                            KECK & AUSTIN, L.L.C.
                                                  /s/ Damon S. Phillips
                                            By____________________________
                                                  Patricia A. Keck #42811
                                                  Damon S. Phillips #52901
                                                  3140 E. Division
                                                  Springfield, MO 65802
                                                  PH (417) 890-8989
                                                  Fax (417) 890-8990
                                                  Attorney for Defendants McKinney, Cline,
                                                  Garrabrant, Reed


                                 CERTIFICATE OF MAILING

       The undersigned hereby certifies that a true and accurate copy of the foregoing Answer and
Counterclaim Abuse of Process was transmitted via ECF filing and mailed, postage prepaid, this
20th day of June, 2018, to:

Michael and Mary Lind
1850 Liberty Lane
Thornfield, MO 65762
lindsforliberty@gmail.com


                                                  /s/ Damon S. Phillips
                                            ____________________________
                                                  Patricia A. Keck
                                                  Damon S. Phillips




                                               13

        Case 6:18-cv-03125-SRB Document 21 Filed 06/20/18 Page 13 of 13
